          Case 3:21-cr-02148-JLS Document 24 Filed 10/06/21 PageID.31 Page 1 of 1



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 6                            UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
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 9   UNITED STATES OF AMERICA,                      Case No.: 21CR2148-JLS
10                                     Plaintiff,
                                                    ORDER CONTINUING MOTION
11   v.                                             HEARING/TRIAL SETTING

12   ZACHARY GROBSTEIN,
13                                   Defendant.
14
15           Pursuant to joint motion, IT IS HEREBY ORDERED that the Motion Hearing/Trial
16   Setting presently scheduled for October 8, 2021 shall be continued to November 12, 2021
17   at 1:30 p.m. Time is excluded to 18 U.S.C. § 3161(h)(1)(D).
18           IT IS SO ORDERED.
19   Dated: October 6, 2021
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